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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

Joanna Castro,                            §
                                          §
        Plaintiffs,                       §
                                          §
vs.                                       §     NO: SA:18-CV-00312-DAE
                                          §
Albert Salinas,                           §
                                          §
       Defendants.                        §

                              SCHEDULING ORDER

      The scheduling recommendations provided by the parties on August 1, 2018
(Dkt no. 9) are adopted by the Court. Therefore, the following dates are entered to
control the course of this case:

     1. A report on alternative dispute resolution in compliance with Local Rule
CV-88 shall be filed by September 20, 2018.

       2. The parties asserting claims for relief shall submit a written offer of
settlement to opposing parties by August 20, 2018, and each opposing party shall
respond, in writing, by September 4, 2018.

       3. The parties shall file all motions to amend or supplement pleadings or to
join additional parties by December 19, 2018.

       4. All parties asserting claims for relief shall file their designation of
testifying experts and shall serve on all parties, but not file, the materials required
by Fed. R. Civ. P. 26(a)(2)(B) by November 16, 2018. Parties resisting claims for
relief shall file their designation testifying experts and shall serve on all parties,
but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by December 21,
2018. All designations of rebuttal experts shall be designated within fourteen (14)
days of receipt of the report of the opposing expert.

      5. An objection to the reliability of an expert's proposed testimony under
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Federal Rule of Evidence 702 shall be made by motion, specifically stating the
basis for the objection and identifying the objectionable testimony, within thirty
(30) days of receipt of the written report of the expert's proposed testimony, or
within thirty (30) days of the expert's deposition, if a deposition is taken,
whichever is later.

       6. The parties shall complete all discovery on or before February 28, 2019.
 Counsel may by agreement continue discovery beyond the deadline, but there will
be no intervention by the Court except in extraordinary circumstances, and no trial
setting will be vacated because of information obtained in post-deadline discovery.

      7. All dispositive motions shall be filed no later than May 1, 2019.
Dispositive motions as defined in Local Rule CV-7(c) and responses to dispositive
motions shall be limited to twenty (20) pages in length. Replies, if any, shall be
limited to ten (10) pages in length in accordance with Local Rule CV-7(e). If
parties elect not to file dispositive motions, they must contact the courtroom
deputy on or before this deadline in order to set a trial date.

       8. The hearing on dispositive motions will be set by the Court for a date
after the deadline for responses and replies.

       9. The Court will set the case for trial by separate order. The order will
establish trial type deadlines to include pretrial matters pursuant to Local Rule
CV-16(e)-(g).

      IT IS SO ORDERED.

      DATED: San Antonio, Texas, August 02, 2018.


                                           ______________________________
                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
